         Case 3:15-cv-00051-KC Document 76 Filed 06/20/23 Page 1 of 6




                       UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION


FABIAN HERNANDEZ,                         §
                                          §
               Petitioner,                §
                                          §
v.                                        § CAUSE NO. 3:15-cv-00051
                                          §
BOBBY LUMPKIN, Director, Texas            §
Department of Criminal Justice, Cor-      §
rectional Institutions Division,          § CAPITAL HABEAS CASE
                                          §
               Respondent.                §


                     MOTION TO SUBSTITUTE COUNSEL
TO THE HONORABLE KATHLEEN CARDONE:
      COMES NOW Petitioner Fabian Hernandez, by and through his undersigned

counsel, and pursuant to 18 U.S.C. § 3599(e), moves the Court to permit Carl David

Medders to withdraw as counsel for Mr. Hernandez and appoint the Federal Public

Defender for the Western District of Texas, Capital Habeas Unit, in his place. This

Motion is based on the files and records in this case and the following points and

authorities.

      Mr. Hernandez initiated this challenge to the death sentence imposed on him

by the State of Texas. Section 3599(a)(2) of Title 18 provides that death-sentenced

habeas petitioners are “entitled to the appointment of one or more attorneys and the

furnishing of such other services” as may be necessary to their case.

      On March 25, 2015, this Court appointed Mr. Medders and William Harris to

represent Mr. Hernandez. Order, ECF No. 7. Messrs. Medders and Harris
           Case 3:15-cv-00051-KC Document 76 Filed 06/20/23 Page 2 of 6




represented Mr. Hernandez throughout his habeas corpus proceedings that concluded

in 2019.

      The terms of § 3599(e) require that Messrs. Medders and Harris continue rep-

resenting Mr. Hernandez unless either or both of them is replaced by similarly qual-

ified counsel. The Capital Habeas Unit (“CHU”) in the Western District of Texas is

able to provide qualified counsel in place of Mr. Medders. The CHU is staffed by ex-

perienced capital habeas attorneys, investigators and mitigation specialists, and par-

alegals. As an independently funded office, the CHU can provide investigative and

expert assistance to Mr. Hernandez’s case without burdening this Court or the Fifth

Circuit. CHU staff have extensive experience representing clients like Mr. Hernandez

who have been through the courts and may seek clemency or habeas relief through a

successive application.

      Mr. Medders has an extremely heavy trial load in a practice that is exclusively

in federal court. In the next five months, he is scheduled to try two complicated fed-

eral criminal cases. and several other contested matters. Since his appointment eight

years ago, Mr. Medders professional focus has been on federal trial litigation. This is

the only post conviction proceeding he is still counsel on. Due to the current demands

of his schedule, Mr. Medders has not accepted any further federal death penalty ha-

beas appointments and does not plan to do so in the immediate future.

                          CERTIFICATE OF CONFERENCE


      On June 14 and 15, 2023, undersigned counsel for Petitioner emailed counsel

for Respondent, Assistant Attorney General Jennifer Wren Morris, and requested an



                                          2
         Case 3:15-cv-00051-KC Document 76 Filed 06/20/23 Page 3 of 6




opportunity to confer about this Motion or state Respondent’s position. Undersigned

counsel emailed the Assistant Attorney General using two different email addresses.

Counsel checked with the Texas Bar to confirm that she still works in the Attorney

General’s Office. As of this date of filing, Respondent’s counsel did not respond to the

undersigned’s efforts to conference this motion. Undersigned counsel will update this

certificate if and when circumstances change.

      FOR THESE REASONS, Mr. Hernandez respectfully requests this Court enter

the attached proposed order substituting the Federal Public Defender and her Capital

Habeas Unit for appointed counsel David Medders.

DATED: June 20, 2023.                   Respectfully submitted,


                                        MAUREEN FRANCO
                                        FEDERAL PUBLIC DEFENDER

                                         /s/ Tivon Schardl
                                        TIVON SCHARDL
                                        Chief, Capital Habeas Unit
                                        SBOT #24127495
                                        Federal Defender Office
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                                        Austin, Texas 78701
                                        737-207-3007 (tel.)
                                        512-499-1584 (fax)
                                        Email: tivon_schardl@fd.org

                                        /s/William Harris (authorized 6/14/23)
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                                        Law Office of William S. Harris
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                                        Fort Worth, TX 76102-5118
                                        817-332-5575
                                        Email: wmsharris.law@gmail.com

                                         /s/David Medders (authorized 6/14/23)



                                           3
Case 3:15-cv-00051-KC Document 76 Filed 06/20/23 Page 4 of 6




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                           Attorneys for Petitioner




                             4
          Case 3:15-cv-00051-KC Document 76 Filed 06/20/23 Page 5 of 6




                         CERTIFICATE OF SERVICE

      I hereby certify that on the 20th day of June 2023, I electronically filed the

foregoing Petitioner’s Motion to Substitute Counsel and Proposed Order with the

Clerk of Court using the CM/ECF system which will serve the same on all counsel of

record.



                                      /s/ Tivon Schardl
                                      TIVON SCHARDL




                                         5
         Case 3:15-cv-00051-KC Document 76 Filed 06/20/23 Page 6 of 6




                       UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION
 FABIAN HERNANDEZ,                         §
                                           §
                Petitioner,                §
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 v.                                        § CAUSE NO. 3:15-cv-00051
                                           §
 LORIE DAVIS, Director, Texas De-          §
 partment of Criminal Justice, Correc-     §
 tional Institutions Division,             §
                                           §
                Respondent.                §

                                      ORDER

       On this date came on to be considered Petitioner’s Motion to Substitute Coun-

sel. The Court, after considering same, is of the opinion that it is in the interests of

justice to relieve David Medders from his appointment in this case and to appoint the

Federal Public Defender and her Capital Habeas Unit in his place. That is, this Court

finds the motion should be GRANTED. Accordingly, it is

       ORDERED that attorney David Medders is permitted to withdraw from this

case and the Federal Public Defender and her Capital Habeas Unit are substituted

in his place.



       Signed this _________________ day of June 2023.




                                         Hon. Kathleen Cardone, U.S. District Judge
